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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
                                 BOSTON DIVISION
___________________________________
                                         :
Kim Kingston,                            :
                                         :
            Plaintiff,                   :
                                         :
        v.                               :   Case No. 1:15-cv-11536
                                         :
Synchrony Bank                           :
d/b/a JCPenney Credit Services,          :
                                         :
            Defendant.                   :
___________________________________      :

                                           COMPLAINT

       Plaintiff, Kim Kingston (“Plaintiff”), through her attorneys, Shaevel & Krems, LLP,

alleges the following against Defendant, Synchrony Bank d/b/a JCPenney Credit Services

(“Defendant”):

                                        INTRODUCTION

       1.        This action is brought by Plaintiff pursuant to the Telephone Consumer

Protection Act (“TCPA”), 47 U.S.C. § 227 et seq.

                                 JURISDICTION AND VENUE

       2.        Jurisdiction of this court arises pursuant to 28 U.S.C. § 1331 and 47 U.S.C. §

227.

       3.        Venue is proper pursuant before this Court pursuant to 28 U.S.C. § 1391(b)(2) as

the acts and transactions giving rise to this action occurred in this district as Plaintiff resides in

this district and Defendant transactions business in this district.
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                                             PARTIES

       4.       Plaintiff is a natural person residing in Suffolk County in Dorchester,

Massachusetts.

       5.       Defendant is a business entity incorporated in Delaware with an office located at

777 Long Ridge Rd., Stamford, CT 06902.

       6.       Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                   FACTUAL ALLEGATIONS

       7.       In 2014, Defendant began placing calls to (617) 595-87xx, Plaintiff’s cellular

telephone.

       8.       Upon information and good faith belief, based on the frequency, number, nature

and character of these calls, Defendant placed them by using an automatic telephone dialing

system (“dialer”).

       9.       Defendant called Plaintiff attempting to collect an alleged debt.

       10.      These calls were for non-emergency purposes.

       11.      In or around November 2014, but before November 15, 2014, Plaintiff instructed

Defendant to stop calling her.

       12.      Plaintiff revoked any consent, actual or implied, for Defendant to use a dialer to

call her cellular telephone.

       13.      Defendant continued to use a dialer to call Plaintiff’s cellular telephone.

       14.      Since November 15, 2014, Defendant used a dialer to call Plaintiff’s cellular

telephone at least fifty-five (55) times.

       15.      Defendant willfully and voluntarily used a dialer to place these calls.
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         16.     Defendant intended to use a dialer to place these calls.

         17.     Defendant did not have Plaintiff’s express consent to use a dialer to place these

calls.

                                    COUNT I
                       TELEPHONE CONSUMER PROTECTION ACT

         18.     Defendant’s actions alleged supra constitute numerous negligent violations of the

TCPA, entitling Plaintiff to an award of $500.00 in statutory damages for each and every

violation pursuant to 47 U.S.C. § 227(b)(3)(B).

         19.     Defendant’s actions alleged supra constitute numerous and multiple knowing

and/or willful violations of the TCPA, entitling Plaintiff to an award of $1,500.00 in statutory

damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

         Wherefore, Plaintiff, Kim Kingston, respectfully requests judgment be entered against

Defendant, Synchrony Bank d/b/a JCPenney Credit Services for the following:

         A)      Statutory damages of $500.00 for each and every negligent violation of the

                 TCPA pursuant to 47 U.S.C. § (b)(3)(B).

         B)      Statutory damages of $1,500.00 for each and every knowing and/or willful

                 violation of the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. §

                 (b)(3)(C).

         C)      All court costs, witness fees and other fees incurred.

         D)      Any other relief that this Honorable Court deems appropriate.




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                                    RESPECTFULLY SUBMITTED,
                                    The Plaintiff,
                                    By Her Attorneys,



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Dated: April 7, 2015                Attorneys for Plaintiff




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